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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, ET AL.,                  §
                                                      §
         Plaintiffs,                                  §
                                                      §
 v.                                                   §
                                                            Case No. 5:21-cv-844
                                                      §
 GREGORY W. ABBOTT, ET AL.,                           §
                                                      §
         Defendants.                                  §

                                        [PROPOSED] ORDER

        Before the Court is State Defendants’ Partially-Opposed Motion to Consolidate. After

considering the Motion, briefing on the matter, and applicable law, the Court is of the opinion that it

should be GRANTED.

        The Court finds that this case and the other three lawsuits that the State Defendants have

moved to consolidate with this case—OCA-Greater Houston v. Esparza, No. 1:21-cv-780 (W.D. Tex.);

Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.); and LULAC Texas v. Esparza, No. 1:21-cv-786

(W.D. Tex.)—substantially overlap on substantive issues. The Court also finds that this case was the

first of these four cases to have been filed.

        As this is the first-filed case, the Fifth Circuit’s first-to-file rule directs that this Court decide

how the subsequently-filed cases should proceed. The Court finds that these four cases should be

consolidated because they involve common questions of law and fact, and because the other relevant

factors weigh in favor of consolidation.

        IT IS THEREFORE ORDERED that State Defendants’ Partially-Opposed Motion to

Consolidate is hereby GRANTED. The Court hereby ORDERS that OCA-Greater Houston v. Esparza,

No. 1:21-cv-780 (W.D. Tex.); Houston Justice v. Abbott, No. 5:21-cv-848 (W.D. Tex.); and LULAC

Texas v. Esparza, No. 1:21-cv-786 (W.D. Tex.) be consolidated into La Unión del Pueblo Entero v. Abbott,
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No. 5:21-cv-844 (W.D.Tex.).

       IT IS ORDERED that all future filings be filed in La Unión del Pueblo Entero v. Abbott, No.

5:21-cv-844 (W.D.Tex.).



DATE: _________________

                                                    ____________________________________
                                                    FRED BIERY
                                                    UNITED STATES DISTRICT JUDGE




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